        Case 3:16-cv-00580-AC      Document 174   Filed 11/28/16   Page 1 of 22




                             UNITED STATES DISTRICT COURT

                                  DISTRICT OF OREGON

                                  PORTLAND DIVISION


LAWRENCE P. CIUFFITELLI, for himself                        Case No. 3:16-cv-0580-AC
and as Trustee of CIUFFITELLI REVOCABLE
TRUST; GREG and ANGELA JULIEN;                                OPINION AND ORDER
JAMES and SUSAN MACDONALD, as Co-
Trustees of the MACDONALD FAMILY
TRUST; R.F. MACDONALD CO.; ANDREW
NOWAK, for himself and as Trustee of the
ANDREW NOWAK REVOCABLE LIVING
TRUST U/A 2/20/2002; WILLIAM
RAMSTEIN; and GREG WARRICK, for
himself and, with SUSAN WARRICK, as Co-
Trustees of the WARRICK FAMILY TRUST,
individually and on behalf of all others
similarly situated,

                    Plaintiffs,

             v.

DELOITTE & TOUCHE LLP,
EISNERAMPER LLP; SIDLEY AUSTIN
LLP; TONKON TORP LLP; TD
AMERITRADE, INC.; and INTEGRITY
BANK & TRUST,

                    Defendants.


A COSTA, Magistrate Judge:


Page 1 - OPINION AND ORDER
         Case 3:16-cv-00580-AC           Document 174         Filed 11/28/16       Page 2 of 22



                                               Introduction

        Defendants Deloitte & Touche LLP ("Deloitte") and EisnerAmper LLP ("EisnerAmper")

(collectively, "the Accounting Firms") both move (ECF Nos. 139 and 143) for protective orders

against Plaintiffs' Requests for Production, staying discovery until the co mi mies on the motions to

dismiss filed by Deloitte, EisnerArnper, and other defendants. For the reasons that follow, the court

GRANTS IN PART and DENIES IN PART both motions.

                                               Background

1       The Lawsuit.

        Plaintiffs filed this securities fraud lawsuit against an international accounting firm and an

international law firm, a national accounting firm, an Oregon law firm, a national stock trading firm,

and a bank, alleging that each of them pmiicipated in and aided the Aequitas group of companies

("Aequitas") sale of a group of securities (the "Disputed Securities") through material

misrepresentations and omissions. (ECF No. I (Complaint), at if I; ECF No. 57 (First Amended

Complaint), at if I.) Although Plaintiffs asse1i only a single claim for relief for violation of Oregon

securities law (ECF No. 57, at ifif 189-194), they present their claim in a 52-page complaint that

contains lengthy and detailed factual allegations; asserts scores of alleged failures to disclose,

misrepresentations, and omissions; and includes a request for class certification. Plaintiffs contend

that Defendants' alleged misrepresentations were "extensive and pervasive" and that Defendants "are

jointly and severally liable to return to all Aequitas investors the money they paid for the securities,

plus interest at the rate stated in the security or 9 percent, whichever is greater." (ECF No. 57, at ifif

I, 2.) Plaintiffs asse1i their damages from Defendants' alleged actions exceed 13 million dollars

(ECFNo. 57, atifif 8-14) and they seek class ce1iification of their claims (ECFNo. 57, at ifif 181-188)


Page 2 - OPINION AND ORDER
            Case 3:16-cv-00580-AC         Document 174        Filed 11/28/16     Page 3 of 22



 which, if granted, likely will increase the Defendants' potential liability many times greater than the

named Plaintiffs' alleged damages.

           Collectively, the Defendants have filed seven motions to dismiss (ECF Nos. 74, 78, 80, 81,

85, 95, and 113), asserting multiple reasons to suppmt their contention that Plaintiffs have failed to

state a claim against each of them. The motions to dismiss assert Plaintiffs' complaint should be

dismissed for legal and factual deficiencies. If granted based on some of the claimed legal

deficiencies, Plaintiffs' claims against one or more of the Defendants could be dismissed with

prejudice, but Plaintiffs likely would be allowed to attempt to cure factual deficiencies through an

amended complaint. The motions to dismiss are pending and fully briefed, will be heard on

December 21, 2016, and will be taken under advisement on that date. II.         Th e Re g u e st e d

                                                                                Discovery.

           The parties disagree regarding the schedule for discovery prior to a ruling on the motions to

dismiss. (Joint Repmt of Parties' F.R.C.P. 16(f) Conference, ECFNo. 94, at 2-9.) Plaintiffs served

requests for production on the Accounting Firms under Federal Rule of Civil Procedure ("Rule") 26.

Plaintiffs served on each of the two Accounting Firms a request for production of almost 40 pages,

each request setting out more than 3 5 numbered paragraphs describing a different category of

documents which Plaintiffs contend are relevant to the merits of their claims. (Deel. of Gavin

Masuda in Support ofDeloitte & Touche LLP's Mot. for Protective Order ("Masuda Deel."), ECF

No. 140, Ex. 2; Deel. of William P. FeJTanti in Suppmt ofEisnerAmper LLP's Mot. for Protective

Order ("Ferranti Deel."), ECF No. 144, Ex. B.) Representative paragraphs from those requests are:

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Page 3 - OPINION AND ORDER
      Case 3:16-cv-00580-AC          Document 174        Filed 11/28/16     Page 4 of 22



      REQUEST FOR PRODUCTION NO. 5:
      All documents related to the technical training, educational background, professional
      experience and disciplinary history (if any) of all of the Deloitte personnel
      performing any services or audit functions for any Aequitas Company.

      REQUEST FOR PRODUCTION N0.7:
      All Workpapers and other documents relating to any review engagement, agreed-
      upon procedures engagement, or any other type of engagement or assessment of any
      annual (other than the 2013 or 2014 audits), or any quarterly or other interim
      financial statements of any Aequitas Company, including (a) all documents
      concerning the steps and procedures performed in the course of any such assessment
      or review; and (b) all documents created, received, reviewed, examined, or
      referenced in connection with any such assessment or review.

     REQUEST FOR PRODUCTION N0.9:
     All Workpapers or other documents related to any audit, performance of risk
     assessment procedures or other review of any Aequitas Company's systems of
     internal controls over financial reporting, as that term is described in AU-C 315.04.
     This request specifically includes all work done in connection with the audit of any
     Aequitas Company's 2013 and 2014 financial statements, as well as any assessment,
     audit or other reviews unde1iaken after the completion of the audit of any Aequitas
     Company' 2013 and 2014 financial statements.

     REQUEST FOR PRODUCTION NO. 12:
     All Workpapers or other documents documenting or describing all procedures
     performed by Deloitte with respect to identifying and assessing the risks of material
     misstatement of the repmied financial statements (and Deloitte' s responses to such
     risks), in connection with Deloitte's audit ofthe 2013 and 2014 financial statements
     of any Aequitas Company.

     REQUEST FOR PRODUCTION NO. 15:
     All communications with, and documents produced to the Securities and Exchange
     Commission (or any non-U.S. regulator) in connection withDeloitte's audits or other
     services performed for any Aequitas Company.

     REQUEST FOR PRODUCTION N0.17:
     All Workpapers or other documents relating to any engagements performed for any
     Aequitas Company, other than the 2013 and 2014 audits, including but not limited
     to any Agreed-Upon Procedures ("AUP") engagements.

     REQUEST FOR PRODUCTION NO. 22:
     All documents reflecting any communications between You and any predecessor or
     successor auditor of any Aequitas Company.


Page 4 - OPINION AND ORDER
           Case 3:16-cv-00580-AC       Document 174        Filed 11/28/16     Page 5 of 22



           REQUEST FOR PRODUCTION NO. 28:
           All docwnents comprising, evidencing, or reflecting any communications between
           You and any other Defendant relating to any of the Aequitas Companies.

(ECF No. 140-1 (Deloitte request); ECF No. 144-2 (EisnerAmper request).'

III.    The Parties' Positions.

        The Accounting Firms contend that because Plaintiffs' requests for production encompass

a large number of documents, the gathering, reviewing, and production of those documents would

require substantial time and cost hundreds of thousands of dollars. They argue that the time and

expense of full merits discovery is not warranted at this stage because their pending motions to

dismiss, if granted, would render irrelevant some or all of that discove1y. For the same reason, the

Accounting Firms argue full merits discovery while motions to dismiss are pending 1s

dispropo1tionate to the needs of the case at this stage and thus improper under Rule 26(b)(l).

        Plaintiffs oppose the motion for a protective order but do not seek immediate responses to

all of their requests for production. Instead, Plaintiffs propose a compromise: the Accounting Firms

would produce audit workpapers 2 for the years each firm acted as auditor to any Aequitas companies.

Plaintiffs point out that even if the court granted the Accounting Firms' respective motions to

dismiss in their entireties and the Accounting Firms no longer were parties to this lawsuit, these


       1
          The excerpted paragraphs are taken from the Deloitte request, but each paragraph also
appears in the EisnerAmper request verbatim, except for the defendant's name and changing the
years EisnerAmper performed audit services.
       2
          "Workpapers" is a term of art in accounting. As defined in the professional standards for
accountants, workpapers are "the record of audit procedures perfmmed, relevant audit evidence
obtained, and conclusions the auditor reached." Am. Inst. ofCPAs, Clarified Statements on Auditing
Standards, AU-C § 230: Audit Documentation (2016), http://www.aicpa.org/research/standards/
auditattest/downloadabledocwnents/au-c-00230.pdf. Plaintiffs use this definition in their requests
for production. See ECF No. 140-1, at 11 (Deloitte request); and ECF No. 144-2, at 11
(EisnerAmper request).

Page 5 - OPINION AND ORDER
         Case 3:16-cv-00580-AC           Document 174        Filed 11/28/16      Page 6 of 22



workpapers still would be discoverable as third-party evidence. See Fein v. Numex Corp., 92 F.R.D.

94, 96-97 (S.D .N. Y. 1981) (allowing as "plainly relevant" third-paiiy discovery of audit workpapers

in a case alleging material misrepresentations and omissions of a company's financial condition).

Plaintiffs mgue that a pending motion to dismiss does not constitute good cause for a protective

order against discovery of the workpapers only. See Twin City Fire Ins. Co. v. Employers Ins. of

Wausau, 124 F.R.D. 652, 653 (D. Nev. 1989)("[A] pending Motion to Dismiss is not ordinarily a

situation that in and of itself would warrant a stay of discovery.").

        At oral argument, Deloitte and EisnerAmper each opposed Plaintiffs' compromise position.

Deloitte proposed instead the production of all "transaction level" documents in its possession

showing details of the named Plaintiffs' purchases of Aequitas-company securities. EisnerAmper

opposed production ofworkpapers from audits of all Aequitas companies - 88 in number (ECF No.

139, at 5)- because not all of the Aequitas companies it audited issued Disputed Securities. The

Accounting Firms contend and Plaintiffs do not dispute that EisnerAmper audited only six Aequitas

entities and that only three of those entities issued Disputed Securities, nor do Plaintiffs dispute that

Deloitte audited only twelve Aequitas entities of which only six issued Disputed Securities. There

also is no dispute that Deloitte performed its audit services only in the two-yem period 2013-14, and

EisnerAmper performed its audit services only in the two-yeai· period 2011-12.

       EisnerAmper raises an additional argument relevant to both motions for protective order.

Citing Ministerie Roca Salida v. US. Dep 't of Fish and Wildlife, 288 F.R.D. 500 (D. Nev. 2013),

EisnerAmper argues the comi should consider under Rule 1 the expense and additional litigation that

would come from allowing discove1y to proceed while the motions to dismiss are pending. The

Ministerie Roca Salida court examined cases from throughout the Ninth Circuit regai·ding stays of


Page 6 - OPINION AND ORDER
           Case 3:16-cv-00580-AC       Document 174         Filed 11/28/16     Page 7 of 22



discovery pending resolution of a dispositive motion. The court concluded that Rule 1 requires the

court to consider whether justice is best served by allowing discove1y to proceed, or to delay or limit

discoveiy to promote "the inexpensive determination of the case." Id at 502-04. EisnerAmper

submits that if discove1y proceeds in this case a number of merits issues will arise in the context of

discovery motions. At oral argument, EisnerAmper argued discove1y motions will arise even ifthe

discove1y is limited to the workpapers of all Aequitas entities that EisnerAmper audited, because

EisnerAmper also audited other Aequitas entities that did not issue the Disputed Securities.

                                           Legal Standard

           Rule 26 governs discovery in federal civil cases, the scope of which includes "any

nonprivileged matter that is relevant to any pmiy' s claim or defense and proportional to the needs

of the case." FED. R. Crv. P. 26(b)(1) (italics added). A court may issue a protective order "to

protect a pmiy or person from annoyance, embarrassment, oppression, or undue burden or expense"

upon a showing of good cause. FED. R. Crv. P. 26(c)(1 ). The pmiy seeking the protective order must

establish "specific harm or prejudice will result if no protective order is graJtted." Foltz v. State

Farm Mut. Auto Ins. Co., 331 F.3d 1122, 1130 (9th Cir. 2003)(citing Phillips ex rel. Estates ofByrd

v. Gen. Motors Corp., 307 F.3d 1206, 1210-11 (9th Cir. 2002). Good cause is generally a "heavy

burden." Blankenship v. Hearst Corp., 519 F.2d 418, 429 (9th Cir. 1975). The court has "broad

discretion ... to decide when a protective order is appropriate aJtd what degree of protection is

required." Phillips, 307 F.3d at 1211 (citing Seattle Times Co. v. Rhinehardt, 467 U.S. 20, 36

(1984)).

                                              Analysis

L.     Preliminary Matters.


Page 7 - OPINION AND ORDER
         Case 3:16-cv-00580-AC           Document 174         Filed 11/28/16      Page 8 of 22



        A.      The Purpose of the Accounting Firms' Motions.

        These are not typical protective order motions. Typically, a party seeks a protective order

to prevent an opposing party from obtaining or disseminating documents and information that

include privileged, confidential, propriety, or private subject matter, or to avoid producing

documents and information not relevant to established claims or defenses. Here, the Accounting

Firms do not seek protection for any of those reasons. Instead, they seek a stay of discove1y (with

one exception, discussed below) because, they contend, their pending motions to dismiss are

potentially dispositive and if granted would make unnecessary much or all of the discovery Plaintiffs

seek. Because the Accounting Firms seek a stay of discovery, the court evaluates their motions

against a standard different from the standard ordinarily applied to a motion for protective order.

        B.      Discovery Stay Standards.

        Well-established standards exist for determining whether a protective order is wan-anted, but

"[t]he Federal Rules of Civil Procedure do not provide any standards to be utilized with respect to

stays of discovery when a potentially dispositive motion is pending." Davis v. Nevada, No. 3:13-

CV-00559-MMD-WGC, 2014 WL 1308347 (D. Nev. March31, 2014), citingSkellerupindus. Ltd

v. City a/Los Angeles, 163 F.R.D. 598, 600-601 (C.D. Cal. 1995). No Ninth Circuit case provides

a clear standard either. Davis, 2014 WL 1308347, at *l. See also DRK Photo v. McGraw-Hill

Companies, Inc., No. CV12-8093-PCT-PRG, 2012 WL 5936681 (D. Ariz. Nov. 27, 2012)("The

Ninth Circuit Court of Appeals has not announced a clear standard against which to evaluate a

request or motion to stay discovery in the face of a pending, potentially dispositive motion.")( citation

omitted). District courts in this circuit have rejected the general proposition that a pending

dispositive motion justifies a stay of discove1y. See, e.g., Trade bay LLC v. eBay, Inc., 278 F.R.D.


Page 8 - OPINION AND ORDER
         Case 3:16-cv-00580-AC            Document 174       Filed 11/28/16      Page 9 of 22



597, 603 (D. Nev. 2011) ("The fact that a non-frivolous motion is pending is simply not enough to

warrant a blanket stay ofall discovery."); Mlejneckyv. Olympus Imaging America, Inc., No. 2: IO-cv-

02630 JAM KJN, 2011 WL 489743, at *5-6 (E. D. Cal. Feb.7, 2011) (federal rules do not provide

for discovery stay pending potentially dispositive motion); Turner Broadcasting System, Inc. v.

Tracinda Cmp., 175 F.R.D. 554, 556 (D. Nev. 1997) ("[A] pending Motion to Dismiss is not

ordinarily a situation that in and of itself would warrant a stay of discovery.") (quoting Twin City

Fire Ins. v. Employers Insurance of Wausau, 124 F.R.D. 652, 653 (D. Nev. l 989));Skellerup Indus.

Ltd. v. City ofL.A., 163 F.R.D. 598, 600-01 (C.D. Cal. 1995) ("Had the Federal Rules contemplated

that a motion to dismiss under Fed. R. Civ. P. 12(b)(6) would stay discovery, the Rules would

contain a provision for that effect.").

        Although the Ninth Circuit has not articulated a controlling standard, dicta from the court's

cases provides a measure of guidance. A discovery stay is appropriate ifthe district court is certain

the plaintiff will be unable to make out a viable claim for relief. See, e.g., Little v. City ofSeattle,

863 F.2d, 681, 685 (9th Cir. 1988) ("Staying discovery when a comt is convinced that the plaintiff

will be unable to state a claim for relief futthers the goal of efficiency for the comt and the

litigants."); Wood v. McEwen, 644 F .2d 797, 801 (9th Cir. 1981 )(district co mt may "stay discovery

when it is convinced that the plaintiff will be unable to state a claim for relief'). A discovery stay

also may be appropriate if the pending dispositive motion does not raise fact issues. See, e.g., Jarvis

v. Regan, 833 F.2d 149, 155 (9th Cir. 1987) (district comt did not abuse discretion in denying

discovery when the complaint did not raise factual issues requiring discovery to resolve). If the

pending motion raises dispositive procedural issues, the district comt may stay discovery. See, e.g.,

Wood, 644 F.2d at 801 (9th Cir. 1981) (acknowledging appropriateness of discovery stay where


Page 9 - OPINION AND ORDER
        Case 3:16-cv-00580-AC          Document 174         Filed 11/28/16     Page 10 of 22



dispositive motions raise issues of jurisdiction, venue, or immunity). Restricting discovery stays to

these limited circumstances is consistent with the Ninth Circuit's dictate that "[a] patiy seeking a

stay of discovery catTies a heavy burden of making a 'strong showing' why discovery should be

denied." Blankenship v. Hearst Corp., 519 F.2d 418, 429 (9th Cir. 1975) (citation omitted). See

also DRK Photo, 2012 WL 5936681, at *4 (denying discovery stay because plaintiff did not show

an "immediate and cleat· possibility of success" on its motion for partial summary judgment, and

therefore did not cal1'y its" 'heavy burden of making a strong showing' that discovery should be

stayed"), quoting Tradebay, 278 F.R.D. at 601.

        Applying this guidance, district court decisions in this circuit have produced at least three

different approaches for evaluating whether discovery should be stayed pending resolution of a

potentially dispositive motion (see, e.g., Tradebay, LLC, 278 F.R.D. at 602-03 (identifying three

different methods Ninth Circuit district courts have used to determine the appropriateness of a stay)).

One of those three approaches is a case-specific inquiry framed by a set of relevant factors. In

Skellerup Indus. Ltd v. City ofL.A., 163 F.R.D. 598 (C.D. Cal. 1995), the court stated:

       "In considering whether a stay of all discove1y pending the outcome of a dispositive
       motion is warranted, a case-by-case analysis is required .... " Hachette Distribution,
       Inc. v. Hudson County News Company, 136 F.R.D. 356, 358 (E.D.N.Y. 1991).
       Factors the court should consider include: "[T]he type of motion and whether it is
       a challenge as a 'matter oflaw' or the 'sufficiency' of the allegations; the nature and
       complexity of the action; whether counterclaims and/or cross-claims have been
       interposed; whether some or all of the defendants join in the request for a stay; the
       posture or stage of the litigation; the expected extent of discove1y in light of the
       number of parties and complexity of the issues in the case; and any other relevant
       circumstances." Id.

Skellerup Indus. Ltd, 163 F.R.D. at 601. Other district courts in the Ninth Circuit have cited

Skellerup when analyzing the propriety of a discovery stay pending a potentially dispositive motion.



Page 10- OPINION AND ORDER
        Case 3:16-cv-00580-AC          Document 174        Filed 11/28/16      Page 11 of 22



See, e.g., Top Rankv. Haymon, Case No. CV 15-4961-JFW(MRWx), 2015 WL9952887 (C.D. Cal.

Sept. 17, 2015) (citing Skellerup, granting stay in anti-trust case pending defendants' motion to

dismiss); Raymondv. Sloan, Civ. No. 1:13-423-WBS,2014 WL4215378 (D. Idaho Aug. 25, 2014)

(citing Skellerup, denying stay); and Vivendi, S.A. v. T-Mobile, USA, Inc., No. C06-1524JLR, 2007

WL 1168819 (W.D. Wa. April 18, 2007)(citing Skellerup, granting in paii and denying in pmi

discove1y stay).

        C.      Proportionality.

        The 2015 mnendment to the Federal Rules of Civil Procedure 26(b)(l)requiring that

discovery now must be "propmiionate to the needs of the case," necessarily affects the determination

whether a discovery stay should be granted pending determination of a dispositive motion. The 2015

mnendment calls for renewed consideration of the time and money litigants must expend on

discovery, and for courts to impose " 'reasonable limits on discovery through the common-sense

concept of proportionality.' " Roberts v. Clark Cty Sch. Dist., 312 F.R.D. 594, 603 (D. Nev. 2016),

quoting Chief Justice's Year-End Report on the Federal Judiciary (2015), at 6. See also FED. R.

CIV. P. 26(b)(l) adviso1y's committee note to 2015 amendment ("The present amendment restores

the proportionality factors to their original place in defining the scope of discove1y."). Now,

"lawyers must size and shape their discove1y requests to the requisites of a case." Roberts, 312

F.R.D. at 603 (D. Nev. 2016), quoting Chief Justice's Year-End Report on the Federal Judiciary

(2015), at 7.

       For Rule 26(b)(1 )'s proportionality mandate to be meaningful, it must apply from the onset

of a case. Imposing propmiionality only after motion practice establishes the viability of the pmiies'

claims or defenses would thwart that purpose. That is particularly so if full discovery proceeds


Page 11 - OPINION AND ORDER
          Case 3:16-cv-00580-AC        Document 174        Filed 11/28/16      Page 12 of 22



where, as in this case, discovery likely would be extensive and voluminous because of the number

of institutional parties, the complaint contains a claim that is complex both legally and factually,

class certification is sought for a class potentially numbering well more than 1,000 members, the

named plaintiffs allege their damages are many millions of dollars, and the court's ruling on the

motions to dismiss could alter the facts and legal theory upon which the complaint is based.

Therefore, with amended Rule 26(b)(1) now in place, the court must consider propmiionality when

determining whether a stay of discove1y is appropriate pending resolution of a potentially dispositive

motion.

II.     The Skellerup Factors.

       A.       The type of motion and whether it is a challenge as a 'matter of law' or the
                'sufficiency' of the allegations.

       The pending motions to dismiss challenge both the legal viability and the factual premises

of Plaintiffs' securities fraud claim. The alleged legal infirmities include the Disputed Securities

were federal covered securities, and thus excluded from the registration requirements of Oregon

securities law; federal law preempts Plaintiffs' claim; the conduct alleged does not constitute

"participation" in or "material aid" of the sale of the Disputed Securities, which is an essential

element of Plaintiffs' securities fraud claim; and the statute oflimitations bars action on the sale of

at least some of the Disputed Securities. The alleged factual insufficiencies include the failure to

plead facts sufficient to establish causation between alleged misrepresentations and the purchase of

the Disputed Securities; an absence of allegations that the statements were false when made; the lack

of facts identifying actionable omissions, and the absence of factual allegations that any of the

Defendants possessed the requisite level of scienter under the Oregon statute.



Page 12 - OPINION AND ORDER
        Case 3:16-cv-00580-AC            Document 174       Filed 11/28/16      Page 13 of 22



        The pending motions to dismiss are potentially dispositive on Plaintiffs' claims against one

or more of the Defendants or could result in Plaintiffs being required to amend their complaint to

add facts to suppmi their fraud claim, or their resolution could manifest as a combination of those

two outcomes. Whatever the outcome, neither the motions to dismiss nor Plaintiffs' claim appear

frivolous or without merit. In fact, both the Plaintiffs' complaint and the Accounting Firms' motions

to dismiss raise significant legal and factual issues under Oregon law which issues, when resolved,

likely will affect the allegations in the First Amended Complaint. That result could affect, perhaps

significantly, the scope of discovery.

        The court declines to follow the "preliminary peek" approach some courts have used to tie

their stay decisions to the percentage likelihood a pending dispositive motion actually will succeed.

See, e.g., Davis, 2014 WL 1308347, at *2 (comitakes a "preliminary peek" at the underlying motion

to evaluate the "probable likelihood of success"); GTE Wireless, Inc. v. Qualcomm, Inc., 192 F.R.D.

284, 286 (S.D. Cal. 2000) (court should "take a preliminary peek at the merits of the allegedly

dispositive motion to see if on its face there appears to be an immediate and clear possibility that it

will be granted"). First, this approach requires the court to evaluate within the context of a discovery

motion the merits of a potentially dispositive motion, at best an imperfect procedural mechanism for

making such a substantive evaluation. This creates a risk the comi will predetermine the merits of

the motion to dismiss without having fully and deliberately considered the law and facts which bear

on it. Second, a motion to dismiss ultimately could be dispositive of some or all of a pmiy' s claims

or defenses even if on its face that outcome is not immediate and clear. The great majority of

motions to dismiss raise legal or factual issues that must be thoughtfully considered, and many of

those motions ultimately are granted at least in part. Thus, that granting dismissal is not clearly or


Page 13 - OPINION AND ORDER
        Case 3:16-cv-00580-AC           Document 174         Filed 11/28/16      Page 14 of 22



 immediately appropriate from the face of a dispositive motion should not determine whether

 discovery is stayed or proceeds. Third, as the court discussed above, proportionality now bears on

the decision whether to stay discovery while a potentially dispositive motion is pending; the

"preliminary peek" approach does not account for this factor.

        The better approach, consistent with this Skellerup factor, is to compare in the paiiicular case

the arguments contained in the dispositive motion to the claims contained in the complaint it

challenges. Only if a motion to dismiss appears on its face to be frivolous or without any merit

should the court deny out-of-hand a discove1y stay request. Otherwise, the court should employ the

compai·ison and apply its experience and common sense to detennine whether and to what extent the

issues raised wan-ant a stay of discovery. This form of review is not a novel notion, as the Supreme

Court has recognized that trial judges must draw upon and apply their experience in these ve1y

situations. See Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009) ("Determining whether a complaint

states a plausible claim for relief will ... be a context-specific task that requires the reviewing court

to draw on its judicial experience and conm10n sense.").

        Here, the Accounting Firms' challenges to Plaintiffs' First Amended Complaint are credible

ones. Their motions advance both legal and factual challenges which raise complex legal issues and

identify alleged absences of critical facts directly relevant to the statute's requirements. The

arguments contained in the motions to dismiss are reasoned and supp01ied by pertinent authority,

and the court must cai·efully analyze those ai·guments and the Plaintiffs' responses within the context

of Rule 12(b)(6) standards. Comparing the motions and the First Amended Complaint, there is a

reasonable possibility that the Accounting Firms' motions to dismiss will affect the content of

Plaintiffs' First Amended Complaint.


Page 14- OPINION AND ORDER
        Case 3:16-cv-00580-AC          Document 174        Filed 11/28/16    Page 15 of 22



        B.      The nature and complexity of the action.

        This is a securities fraud case based on dozens of alleged discrete acts and omissions, often

subtle in nature. The case is complex because of the number of parties involved, the allegations of

the conduct claimed to constitute fraud, the legal issues raised by the Plaintiffs' complaint and the

Defendants' motions to dismiss, the potential for class certification, and the possible scope of

discovery. Motion practice pe1iaining to each of those aspects is likely, as is the complexity of the

issues that those motions will present.

        C.      Whether counterclaims and/or cross-claims have been interposed.

        Because none of the Defendants have yet filed answers, no defenses, counterclaims or cross-

claims have been asserted. However, the facts and legal theories alleged in the complaint and the

arguments collectively raised by the Defendants' pending motions to dismiss make evident that the

Defendants will assert defenses and affirmative defenses, and could assert cross-claims and

counterclaims in their respective answers.

        D.     Whether some or all of the defendants join in the request for a stay.

        The Accounting Firms are in agreement a stay should enter, as evidenced by their respective

motions in which each requests that relief.     Since they filed their motions, two other of the

Defendants, Sidley Austin and TD Ameritrade, each have filed motions for a protective order

seeking a stay of discovery, asse1iing reasons similar to those argued by the Accounting Firms. (ECF

No. 160 (Sidley Austin motion), ECF No. 171 (TD Ameritrade motion).) Thus, four of the six

named Defendants are in accord that discove1y should be stayed until the court rules on the pending

motions to dismiss. Regarding the remaining two defendants, the co mi infers from the pmiies' Joint

Report of Parties' F.R.C.P. 26(f) Conference (ECF No. 94) that, at least, neither oppose a discove1y


Page 15 - OPINION AND ORDER
        Case 3:16-cv-00580-AC            Document 174           Filed 11/28/16   Page 16 of 22



stay, as the Rule 26(f) Report contains no such indication.

        E.      The posture or stage of the litigation.

        This case is still at an early stage and the time needed for its final resolution is best measured

not in months but in yearly increments. Plaintiffs filed their lawsuit on April 4, 2016, against

Deloitte, EisnerAmper, Sidley Austin, and Tonkon Torp, then filed their First Amended Complaint

on May 19, 2016, to add two new defendants, Integrity Bank and TD Ameritrade. Five of the seven

pending motions to dismiss had been filed by July 14, 2016, the date the parties filed their joint Rule

26(f) report. Until the court rules on those motions, the Plaintiffs' allegations are not yet finally

established, and among the possible outcomes from those motions is another iteration of the

Plaintiffs' complaint.

        Once the complaint is settled and assuming at least some of Plaintiffs' case survives the

Defendants' Rule 12(b)(6) challenges, class ce1iification must be addressed.             The Plaintiffs'

anticipated motion for class ce1iification must be briefed, argued, and decided. If a class is ce1iified,

then notice to potential class members must issue and additional time for potential class members

to respond will be necessary.

        Furthermore, discovery on class certification issues as well as on the merits of Plaintiffs'

claim must be conducted and concluded. Given the number ofpmiies and factual issues in the case,

and the discussion contained in the parties' Rule 26(f) Report, motion practice regarding discovery

is likely and will extend the case's time line further still.

        Finally, the court anticipates one or more of the Plaintiffs or Defendants will file dispositive

motions. Those motion must be briefed, argued, and decided.

       In sum, this case will require considerable time to reach a resolution. A stay of or restriction


Page 16- OPINION AND ORDER
        Case 3:16-cv-00580-AC           Document 174         Filed 11/28/16      Page 17 of 22



on discovery at this early stage, in this context, will not add appreciably to the life span of this case.

        F.      The expected extent ofdiscovery in light of the number ofparties and complexity of
                the issues in the case.

        The preceding discussion makes clear that discovery in this case will be extensive and time-

consuming. There are eleven plaintiffs and six defendants, and the factual allegations contained in

the Plaintiffs' First Amended Complaint implicate documents pertaining to dozens of topics from

dozens of sources, as well and scores of witnesses. Plaintiffs' production requests to the Accounting

Firms confirm this assessment. Additionally, the Plaintiffs and Defendants consist of a half dozen

parties on each side, located in different parts of the countiy. In turn, this means discovery will be

conducted in multiple geographic locations.

        The record also makes clear that document discovery will include a great volume of

electronically stored information. Email and database searches undoubtably will be requested and

conducted by all patties. These tasks will require the patties to first propose, negotiate, and agree

upon search terms, seat·ch protocols, and the sources to be searched-or seek the court's involvement

to resolve their disputes over these topics.

        Also apparent is that as discove1y progresses the parties likely will find additional topics and

witnesses of which they cun-ently unaware. Learning of the existence of new witnesses and

uncovering new subject areas during discove1y occurs in almost every lawsuit. If it occurs here, as

the court expects it will, then those additional discovery topics and witnesses likely will add to the

time needed to conduct discovery and could compound the case's complexity.

       Accordingly, clear from the current record is that discovery also will require considerable

time to conduct. The amount of time needed is difficult to predict at this early stage, but the issues



Page 17 - OPINION AND ORDER
        Case 3:16-cv-00580-AC          Document 174        Filed 11/28/16     Page 18 of 22



raised in the First Amended Complaint and the pending motions to dismiss combine with the above-

referenced factors to foretell a long discovery course.

        G.     Any other relevant circumstances.

        Courts now must consider proportionality when determining the scope of discovery in a

patiicular case, a consideration which falls within Skellerup 's "other relevant other circumstances"

factor. In a complex case where pending motions to dismiss raise credible legal and factual issues,

"the needs of the case" have not yet been finally established. Delaying discovery or limiting its

scope until those issues are decided is appropriate and implements the 2015 Amendment's mandate

for a renewed consideration of the time and money litigants must expend on discovery.

       Another relevant other circumstance is the risk that the merits of claims or defenses will be

decided in the context of discovery motions, because the requests for production and motions to

dismiss share common disputed issues. If full discovery proceeds now, the patties will dispute the

relevancy of the discovery requests using as suppo1i for their respective positions the allegations in

the complaint and the arguments raised in the pending motions. In fact this risk has been realized:

Plaintiffs contended early on that full discovery should proceed because of"clear Oregon case-law

precedent for Plaintiffs' claims" (Rule 26(f) Report (ECF No. 94), at 4), and the Accounting Firms

responded "that discovery should not begin until after the pending motions to dismiss are resolved,"

because "the pending motions may significantly focus at1d impact the categories and scope of

potentially discoverable information for any remaining claims." (ECF No. 139, at 7.) The comi

should avoid making merits rulings when deciding discovery motions, which can be avoided here

by limiting discovery's scope until the pending motions are decided.

       H       Conclusion.


Page 18 - OPINION AND ORDER
         Case 3:16-cv-00580-AC          Document 174        Filed 11/28/16     Page 19 of 22



         Applying the Skellerup factors to the Accounting Firms' protective order motions, the court

concludes that Plaintiffs' requests for production are disproportionate to the needs of the case at this

stage.     Delaying discove1y in the disputed areas will promote the efficient and "inexpensive

determination" of this case by clarifying the appropriate scope of Plaintiffs' claims and, thus,

establishing the appropriate scope of discovery. See FED. R. Crv. P. I; Ministerie Roca Salida, 288

F.R.D. at 502-04 (applying Rule I in determining the propriety of a protective order). This result

is consistent with Rule 26(b)(1 )'s requirement that courts examine "whether the burden or expense

of the proposed discove1y outweighs its likely benefit." Roberts, 312 F.R.D. at 603-04, quoting

Chief Justice's Year-End Report on the Federal Judiciary (2015), at 6.

         Staying all discovery is not appropriate, however, and allowing limited discovety while the

motions to dismiss are pending maintains the intent and purpose of the 2015 amendment. Although

the pending motions to dismiss raise credible challenges to Plaintiffs' First Amended Complaint, it

is far from certain that a successful motion to dismiss would be dispositive and could well result in

Plaintiffs filing another amended complaint. The Accounting Firms explicitly acknowledged these

possibilities at oral argument, and implicitly acknowledged them previously when they proposed to

provide to Plaintiffs some of the discovery they sought. (See Rule 26(f) Report (ECF No. 94), at 7-

9.)

         Accordingly, staying all discove1y until the court resolves the pending motions to dismiss is

not warranted. Limited, focused merits discovery will be allowed while the motions to dismiss are

pending.

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Page 19 - OPINION AND ORDER
           Case 3:16-cv-00580-AC           Document 174        Filed 11/28/16      Page 20 of 22



 III.      Ruling.

           The Accounting Firms' motions for protective order are GRANTED IN PART and DENIED

 IN PART, and they are to provide to Plaintiffs the following discove1y:

           A.        By Deloitte:

                     1.     Audit workpapers for the twelve Aequitas entities for which Deloitte

                            provided audit services, including the six Aequitas entities that issued the

                            Disputed Securities, for the years 2013-14.

                 2.         Transaction-level documents relating to the named Plaintiffs in Deloitte's

                            possession, custody, or control.

                 3.         Requests for information sent by Deloitte to each of the twelve Aequitas

                            entities for which Deloitte provided audit services, in preparation for

                            providing audit services.

                 4.         Information sent to Deloitte from each of the twelve Aequitas entities for

                            which Deloitte provided audit services, in response to Deloitte's requests for

                            information.

                 5.         The names, job titles, and designated primmy office location of the auditors

                            (to include CPAs and non-CPA accountants, if any) assigned to the audits of

                           the twelve Aequitas entities for which Deloitte provided audit services. For

                            any auditor no longer employed by Deloitte, also provide the title of the last

                           job held and the designated primmy office location at the time the auditor

                           separated from the company.

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Page 20 - OPINION AND ORDER
           Case 3:16-cv-00580-AC      Document 174        Filed 11/28/16      Page 21 of 22



           B.   By EisnerAmper:

                 I.    Audit workpapers for the six Aequitas entities for which EisnerAmper

                       provided audit services, including the three Aequitas entities that issued the

                       Disputed Securities, for the years 2013-14.

                2.     Transaction-level documents relating to           the named Plaintiffs in

                       EisnerAmper's possession, custody, or control.

                3.     Requests for information sent by EisnerAmper to each of the six Aequitas

                       entities for which EisnerAmper provided audit services, in preparation for

                       providing audit services.

                4.     Information sent to EisnerAmper from each of the six Aequitas entities for

                       which EisnerAmper provided audit services, in response to EisnerAmper' s

                       requests for information.

                5.    The names, job titles, the designated primaty office location of the auditors

                      (to include CPAs and non-CPA accountants, if any) assigned to the audits of

                      the six Aequitas entities for which EisnerAmper provided audit services. For

                      any auditor no longer employed by EisnerAmper, also provide the title of the

                      last job held and the designated primaty office location at the time the auditor

                      sepm·ated from the company.

       Except as described above, Deloitte and EisnerAmper need not respond to remainder of

Plaintiffs' requests for production pending the court's ruling on the Accounting Firms' motions to

dismiss.

       The information described above must be provided within forty-five (45) days of date of


Page 21 - OPINION AND ORDER
       Case 3:16-cv-00580-AC          Document 174        Filed 11/28/16     Page 22 of 22



entry of this Order, or within such other time as the parties agree or the court fmiher orders.

                                            Conclusion

       For the reasons described above, the Accounting Firms' motions (ECF Nos. 139 and 143)

for protective order are GRANTED IN PART and DENIED IN PART.

       IT IS SO ORDERED.
                        18H._,
       DATED this~ day ofNovember




Page 22 - OPINION AND ORDER
